  Case 17-29476-MBK                         Doc 4 Filed 09/29/17 Entered 09/30/17 00:37:18                                 Desc Imaged
                                                 Certificate of Notice Page 1 of 4
Information to identify the case:

Debtor 1:
                      Bruce E Kanengiser                                         Social Security number or ITIN:   xxx−xx−0172
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        District of New Jersey                    Date case filed for chapter:        7     9/26/17

Case number:           17−29476−MBK

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the party's
correct address, resend the returned notice, and notify this office of the party's change of address. Failure to provide
all parties with a copy of this notice may adversely affect the debtor as provided by the Bankruptcy Code.

                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Bruce E Kanengiser

2.        All other names used in the
          last 8 years

3.      Address                                  68 Charles Road
                                                 Bernardsville, NJ 07924

4.      Debtor's attorney                        Stuart D. Minion                                     Contact phone (973)882−2424
                                                 Minion and Sherman
        Name and address                         33 Clinton Road
                                                 Suite 105
                                                 West Caldwell, NJ 07006

5.      Bankruptcy trustee                       Thomas Orr                                           Contact phone (609) 386−8700
                                                 Law Office of Thomas J. Orr
        Name and address                         321 High Street
                                                 Burlington, NJ 08016−4496


                                                                                                               For more information, see page 2 >
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Debtor Bruce E Kanengiser                                                                                           Case number 17−29476−MBK


6. Bankruptcy clerk's office                    402 East State Street                                         Hours open: 8:30 AM − 4:00 p.m.,
                                                Trenton, NJ 08608                                             Monday − Friday (except holidays)
    Documents in this case may be filed at this Additional information may be available at the
    address. You may inspect all records filed Court's Web Site:                                              Contact phone 609−858−9333
    in this case at this office or online at    www.njb.uscourts.gov.
    www.pacer.gov. (800) 676−6856
                                                                                                              Date: 9/27/17

7. Meeting of creditors                           October 24, 2017 at 12:00 PM                                Location:

    Debtors must attend the meeting The meeting may be continued or adjourned to a                            Clarkson S. Fisher Federal
    to be questioned under oath. In a later date. If so, the date will be on the court                        Courthouse, 402 East State
    joint case, both spouses must     docket.                                                                 Street, Room 129, Trenton, NJ
    attend. Creditors may attend, but                                                                         08608−1507
    are not required to do so.

    All individual debtors must provide picture
    identification and proof of social security
    number to the trustee at the meeting of
    creditors. Failure to do so may result in
    your case being dismissed.


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 12/26/17
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
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     Case 17-29476-MBK           Doc 4 Filed 09/29/17 Entered 09/30/17 00:37:18                Desc Imaged
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                                      United States Bankruptcy Court
                                         District of New Jersey
In re:                                                                                  Case No. 17-29476-MBK
Bruce E Kanengiser                                                                      Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0312-3           User: admin                  Page 1 of 2                   Date Rcvd: Sep 27, 2017
                               Form ID: 309A                Total Noticed: 51


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 29, 2017.
db             +Bruce E Kanengiser,    68 Charles Road,    Bernardsville, NJ 07924-1921
517086484      +Allen J. Berkin, Esq.,     P.O. Box 1330,    Union, NJ 07083
517086485      +Amber Niskach c/o PNC Bank,     P7-PFSC-02-H,    500 First Avenue,    Pittsburgh, PA 15219-3128
517086488      +Amex Bloomingdales,    P.O. Box 78008,    Phoenix, AZ 85062-8008
517086489      +Arley Ramirez Landscape,     374 S. Maple Avenue,    Basking Ridge, NJ 07920-1325
517086490      +B.M.D & Bruce Kanengiser,     68 Charles Road,    Bernardsville, NJ 07924-1921
517086492       Bankers Healthcare Group LLC,     10234 W. State Road 84,     Davie, FL 33324
517086494     #+Beth Dorfman,    68 Charles Road,    Bernardsville, NJ 07924-1921
517086493      +Beth Dorfman,    40 Timber Rock Trail,    Bernardsville, NJ 07924-2221
517086495     #+Beth J. Kanengiser a/k/a Beth Dorfman,     68 Charles Road,     Bernardsville, NJ 07924-1921
517086496     #+Beth Kanengiser,    68 Charles Road,    Bernardsville, NJ 07924-1921
517086497      +Bruce E. C/O Smolin Lupin Co PA,     68 Charles Road,    Bernardsville, NJ 07924-1921
517086499      +Chestnut Lake Camp,    1714 Wantagh Avenue,     Wantagh, NY 11793-3904
517086500      +Christopher J. Cali, Esq.,     CJC Law Office,    201 Solar Street,    Syracuse, NY 13204-1425
517086501      +Citicards Cbna,    Citicorp Credit Svc/Centralized Bankrupt,      Po Box 790040,
                 Saint Louis, MO 63179-0040
517086503      +Division of Taxation,     Internal Revenue Service,    Cincinnati, OH 45999-0001
517086507      +FC Berna Soccer,    P.O. Box 16,    Liberty Corner, NJ 07938-0016
517086505      +Far Hills County Day School,     697 US 202,    Far Hills, NJ 07931-2457
517086508      +Fireline Plumbing and Heating,     198 US Highway 206,    Hillsborough, NJ 08844-4138
517086509      +Joy of Living Inc.,    665 MARTINSVILLE ROAD,     Basking Ridge, NJ 07920-4700
517086510      +Kroll Heineman Carton,     Metro Coporate Campus I,    99 Wood Avenue South, Suite 307,
                 Iselin, NJ 08830-2715
517086512      +LTD Nursery,    460 Minebrook Road,    Bernardsville, NJ 07924-2008
517086513      +Martha D.F. Ostrowitz, Esq.,     Ostrowitz & Ostrowitz,    225 Gordons Corner Road, Suite 1-J,
                 Englishtown, NJ 07726-3342
517086514      +Martin Sarver, Esq.,    One Passaic Avenue,     Fairfield, NJ 07004-3814
517086517      +NY State Dept. of Taxation & Finance,     WA Hurrican Campus,     Albany, NY 12227-0001
517086518       NYC Dept of Finance,    59 Maiden Lane, 19th Floor,     New York, NY 10038-4502
517086515      +Newsome O’Donnell, LLC,     200 Campus Drive, Suite 205,     Florham Park, NJ 07932-1007
517086516      +Northeast Carpenters Funds, et al.,     91 Fieldcrest Ave # 3,     Edison, NJ 08837-3627
517086520      +Pnc Bank,    Po Box 3180,    Pittsburgh, PA 15230-3180
517086521      +Rick Holland & Co.,    411 Pompton Avenue,     Cedar Grove, NJ 07009-1800
517086524      +SST/Best Egg,    Attn: Bankruptcy,    4315 Pickett Rd,    Saint Joseph, MO 64503-1600
517086522      +Sheriff of Somerset County,     P.O. Box 3000,    Somerville, NJ 08876-1262
517086523      +Smolin Lupin & CO., PA,     165 Passaic Ave,    Fairfield, NJ 07004-3592
517086525      +Stark & Stark,    P.O. Box 5315,    Princeton, NJ 08543-5315
517086526      +Street Capital, LLC et als.,     C/O Solomin Rubin, Esq.,     Nesenoff & Miltenberg, LLP,
                 363 Seventh Avenue, 5th Floor,     New York, NY 10001-3915
517086527      +Trudy Sarver,    One Passaic Avenue,    Fairfield, NJ 07004-3814
517086528      +Tuition Management Systems,     171 Service Avenue,    Suite 200,    Warwick, RI 02886-1056
517086529       VISA,   PP.O. Box 4512,     Carol Stream, IL 60197-4512

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: sminion@minionsherman.com Sep 27 2017 22:52:25        Stuart D. Minion,
                 Minion and Sherman,    33 Clinton Road,    Suite 105,    West Caldwell, NJ 07006
tr             +EDI: QTJORR.COM Sep 27 2017 22:28:00       Thomas Orr,    Law Office of Thomas J. Orr,
                 321 High Street,    Burlington, NJ 08016-4411
smg             E-mail/Text: usanj.njbankr@usdoj.gov Sep 27 2017 22:53:23        U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Sep 27 2017 22:53:20         United States Trustee,
                 Office of the United States Trustee,     1085 Raymond Blvd.,    One Newark Center,     Suite 2100,
                 Newark, NJ 07102-5235
517086486      +EDI: AMEREXPR.COM Sep 27 2017 22:28:00       American Express,    PO Box 1270,
                 Newark, NJ 07101-1270
517086487      +EDI: AMEREXPR.COM Sep 27 2017 22:28:00       Amex,    Correspondence,    Po Box 981540,
                 ElPaso, TX 79998-1540
517086491      +EDI: BANKAMER.COM Sep 27 2017 22:28:00       Bank Of America,    Nc4-102-03-14,    Po Box 26012,
                 Greensboro, NC 27420-6012
517086498      +EDI: CHASE.COM Sep 27 2017 22:28:00       Chase Card,    Attn: Correspondence,    Po Box 15298,
                 Wilmington, DE 19850-5298
517086502      +EDI: DISCOVER.COM Sep 27 2017 22:28:00       Discover Financial,    Po Box 3025,
                 New Albany, OH 43054-3025
517086504      +EDI: TSYS2.COM Sep 27 2017 22:28:00       Dsnb Bloomingdales,    Attn: Bankruptcy,    Po Box 8053,
                 Mason, OH 45040-8053
517086530      +EDI: WFFC.COM Sep 27 2017 22:28:00       Wells Fargo Bank Card,    Mac F82535-02f,    Po Box 10438,
                 Des Moines, IA 50306-0438
517086531      +EDI: WFFC.COM Sep 27 2017 22:28:00       Wells Fargo Bank Nv Na,    P O Box 31557,
                 Billings, MT 59107-1557
517086532      +EDI: WFFC.COM Sep 27 2017 22:28:00       Wfm/wbm,   Po Box 10335,     Des Moines, IA 50306-0335
                                                                                                TOTAL: 13
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                                      Form ID: 309A                      Total Noticed: 51


             ***** BYPASSED RECIPIENTS (continued) *****

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
517086506         Farm Credit East
517086511         Landmark Community Ban
517086519         Peapack-gladstone Bank
                                                                                                                    TOTALS: 3, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 29, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 27, 2017 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
